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R. Michael Shickich, 6-3015
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                                                                                     CASPER

                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF WYOMING


SABRINA LESSMAN,

                  Plaintiff,

vs.                                                  CIVIL ACTION NO: 15CV11-F


COMMUNITY HEALTH CENTER OF
CENTRAL WYOMING, INC. HEALTH
CARE PLAN; and

COMMUNITY HEALTH CENTER OF
CENTRAL WYOMING, INC. HUMAN
RESOURCE DEPARTMENT - PLAN
ADMINISTRATOR;

                  Defendants.


                                   FIRST AMENDED COMPLAINT

                                                I.
                                            PARTIES



1.      Plaintiff Sabrina Lessman ("Plaintiff Lessman" or "Plaintiff) was an employee of
        Community Health Center of Central Wyoming, Inc. through August 15, 2013, and
        resided in Casper, Wyoming.

2.      Defendant Community Health Center of Central Wyoming, Inc. Health Care Plan
        ("Defendant CHC Plan"), is the health care plan for Community Health Center of Central
        Wyoming, Inc.




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3.    Upon information and belief, Defendant Community Health Center of Central Wyoming,
       Inc. Human Resource Department ("Defendant CHC Plan Admin") is the Plan
      Administrator for the Community Health Center of Central Wyoming, Inc. Health Care
       Plan.


                                                 11.
                                JURISDICTION AND VENUE


4.    Plaintiff incorporates and adopts by reference all the facts and allegations previously set
      forth as though fully set forth herein.
5.    Plaintiff is a resident of Colorado.

6.    The Community Health Center of Central Wyoming, Inc. Health Care Plan ("CHC Plan")
      is a health care plan issued pursuant to the Employee Retirement Income Security Act
      (ERISA), and provided benefits to Plaintiff.
7.    At all times relevant hereto, the CHC Plan sponsor and agent for legal service has been
      Community Health Center of Central Wyoming, Inc. located at 5000 Blackmore Rd.,
      Casper, WY 82609.
8.    At all times relevant hereto, the CHC Plan and Plan Administrator authorized and utilized
      a claims administrator, namely. Self Insured Services Company ("SISCO") to assert the
      CHC Plan's alleged reimbursement rights.
9.    Plaintiff was a beneficiary and participant of the CHC Plan as of May 2012.
10.   The Plan Administrator, its agents and employees, owe a fiduciary duty to beneficiaries
      and plan participants.
11.   This fiduciary duty extends to Plaintiff Lessman in her status as a beneficiary and
      participant.
12.   Jurisdiction lies within this court pursuant to 28 U.S.C. § 1331 (federal question).
13.   Venue is proper because the incident giving rise to this Complaint and Jury Demand
      occurred in Casper, Wyoming.
14.   Service of process upon Defendant CHC Plan is proper.
15.   Service of process upon Defendant CHC Plan Administrator is proper.




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                                                  III.
                                    FACTUAL BACKGROUND


16.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fully
       set forth herein.


17.    On May 15, 2012, Sabrina Lessman was in a motorcycle collision. On this date she was a
       member and participant in the CHC Plan.

18.    Plaintiff suffered substantial injuries and her medical expenses alone amounted to more
       than $30,000.

19.    Upon information and belief, the CHC Plan was to pay her medical expenses.

20.    Plaintiffs medical bills were not paid by the CHC Plan for various administrative and
       bureaucratic reasons.


21.    Ultimately, the CHC Plan paid only $3,224.02 of Plaintiff Lessman's high amount of
       outstanding medical bills.

22.    Plaintiff Lessman paid the rest of her medical bills personally, out of her own pocket.

23.    The CHC Plan now asserts it is entitled to 100 % reimbursement of the $3,224.02 in
       medical expenses it paid, plus additional items.

24.    Plaintiff Lessman is willing to reimburse the CHC Plan. She even previously tendered a
       check in a compromise amount in an effort to resolve this with the CHC Plan. The check
       she tendered was at a percentage reduction in the same range that all other lien holders
       and creditors had agreed to accept.

25.   The CHC Plan, however, through SISCO, took offense to her offer and reacted
      punitively. SISCO took actions which are believed to be outside of the CHC Plan. In
      order to inflict a greater financial burden on Plaintiff Lessman, SISCO increased the
      amount which it claimed plaintiff owed in reimbursement by adding interest, and yet
      failing to identify the legal basis for this interest.




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26.    Further, SISCO asserted it was imposing additional penalties. These additional penalties
       included, but were not necessarily limited to, withdrawing payment of Plaintiff Lessman's
       medical bills so she would not receive the benefit of any discounts she obtained though
       the insurance billing rate; threatening to force Plaintiff to administrate individually each
      of her own bills just for the hassle and inconvenience of it; and refusing to pay
       outstanding claims.

27.    In September 2014, SISCO made good on its threat by denying unpaid claims to Therapy
       Solutions in the amount of $604.80. By this action. Defendants denied benefits to which
       Ms. Lessman was entitled under the CHC Plan.


28.    On January 20, 2015, SISCO issued a letter to Therapy Solutions demanding a refund of
       claims SISCO had paid in the amount of $696.80. (See Exhibit 3.) By this action.
      Defendants denied benefits to which Ms. Lessman was entitled under the CHC Plan.


29.   While the CHC Plan has played "hardball," it simultaneously has refused to produce
      CHC Plan documents. In short, it is Plaintiff Lessman's experience that the CHC Plan is
      overreaching in its reimbursement claim, and yet refusing to provide the very documents
      that delineate the terms of that reimbursement.


Plan Documents


30.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fully
      set forth herein.


31.   As a participant and beneficiary of the CHC Plan, Plaintiff Lessman is entitled to receive
      complete plan documents.

32.   On August 8, 2013, Plaintiff Lessman submitted a written request by certified mail for
      the complete plan documents. Her request included the following:

      a. Copies of the Summary Plan Description (SPD) and other Plan Documents relating to
          my health insurance coverage for the years 2011 through 2013.




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      b. Copies of form 5500, including all attached schedules, filed with the U.S. Department
          of Labor for the years 2011 through 2013.


      c. A complete copy of the health/ERISA plan.


      d. A listing of the dates of service, service providers and payments made on my behalf,
          if any, from May 15, 2012 to the present. If no payments have been made, please
          confirm this in writing.


      e. Please also cite clauses that describe whether the plan is self-insured or governed by
          ERISA rules, as well as any clauses regarding reimbursement or subrogation.
      A copy of the request letter is attached as Exhibit 1.

33.   Plaintiff Lessman did not receive the plan documents she requested, and still has not
      received them 530 calendar days after the filing of the original complaint. She still has
      not received them at the filing of this amended complaint. Instead, on about October 24,
      2013, she received a Summary Plan Description (SPD). While this document is
      interesting, the SPD alone is inadequate to define the terms of the plan. In CIGNA Corp.
      V. Amara, 131 S.Ct. 1866, 179 L.Ed. 2d 843 (2011), the United States Supreme Court
      held that an SPD does not constitute any term of a plan.

34.   Furthermore, the SPD states on the first page, "The Plan Document takes precedence
      over this booklet." The plan admits that a "Plan Document" exists, yet the Plan
      Administrator refuses to provide it to the Plaintiff.

35.   In the continuing effort to get to the bottom of this issue. Plaintiff Lessman again
      requested by certified mail the complete CHC Plan documents on November 22, 2013.
      The request was received by the CHC Plan via US certified mail on December 4, 2013.
      Specifically, Plaintiff requested the following:

      a. A complete copy of the Plan and all health/ERISA Plan Documents for my client's
          health insurance coverage for the years 2011 through 2013.


      b. The Summary Plan Description for the years 2011 through 2013.


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       c.    The name and address of the current Plan Administrator.


       d. A detailed listing of the dates of service, service providers and payment amoimts for
             medical benefits paid to service providers on my client's behalf, if any, from the date
             of loss to present. If no payments have been made, please confirm this in writing.


       e. Copies of all contracts, including but not limited to: insurance contracts. Stop Loss
             contracts, health insurance contracts, insureince intermediary service contracts, and
             administrative services contracts related to the medical plan serving Wyoming
             participants for the years 2011 through 2013.


      f. Please identify any clauses regarding reimbursement or subrogation, and clauses that
             describe whether the plan is self-funded or insured.


      g. The Administrative Services Contract between the Plan and the claims/third-party
             administrator for the years 2011 through 2013.


      h. Copies of the SMM (Summary of Medical Modifications) statements for the years
             2011 through 2013.
      A copy of the request letter is attached as Exhibit 2.

36.   No response was ever made to this request. To the date the original complaint was filed
      [January 20, 2015], 424 calendar days had passed, and still no controlling plan documents
      had been provided to Plaintiff Lessman. To the date of filing of this amended complaint,
      no controlling plan documents have been provided to Plaintiff Lessman.

37.   This conduct is at odds with the heightened standard of care and loyalty that a fiduciary
      owes Plaintiff Lessman. Further, it has caused personal anxiety and discomfort for her.
      She suffered a head injury and as result lost her job. In turn, she lost her apartment, and
      was forced to move away from Wyoming. It has not been easy for her to function, and
      the delay in distribution of this relatively minor amount of money has caused her
      hardship. In short. Plaintiff Lessman's position is that it should not take a federal lawsuit



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      to negotiate a reimbursement claim. However, SICSO's intention has clearly been to
      inflict maximum financial and administrative inconvenience on the Plaintiff.


Denied Medical Benefits


38.   In September 2014, Plaintiff Lessman was contacted by one of her healthcare providers
      and was informed that she owed payment on medical bills because the CHC Plan had
      denied coverage.

39.   In November 2014, Plaintiff Lessman was contacted by a collection entity that informed
      her she had unpaid medical bills from a different medical provider because the CHC Plan
      had denied coverage.

40.   In January 2015, Plaintiffs counsel was contacted by one of her healthcare providers and
      informed that SISCO had demanded a refund of bills SISCO had previously paid under
      the CHC Plan.


41.   The CHC Plan never notified Plaintiff Lessman that it was going to deny coverage of her
      medical bills and demand refunds of bills the CHC Plan previously paid, nor did it
      provide an opportunity for her to appeal this decision.

42.   Upon information and belief, this action is consistent with the threat by SISCO to
      withdraw coverage to make things difficult for Plaintiff Lessman.

43.   Plaintiff Lessman seeks coverage by the CHC Plan for treatment she received on the
      following dates from Therapy Solutions: August 1, 2013, August 6, 2013, and August 8,
      2013; as well as coverage by the CHC Plan for treatment she received at Community
      Health Center which resulted in the bill(s) that went to collections.

Enjoin From Further Violation of ERISA and Plan Terms


44.   Plaintiff Lessman seeks injunctive relief against SISCO and the CHC Plan to stop
      demanding refunds from her medical providers for bills SISCO paid under the CHC Plan.




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                                                   IV.
                                    FIRST CAUSE OF ACTION
                         FAILURE TO PROVIDE PLAN DOCUMENTS:
      VIOLATION OF 29 U.S.C. §§ 1132(c)(1)(B) and 1024(b)(4); and C.F.R. § 2520.102-3


45.      Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fully
         set forth herein.


46.      29 U.S.C. § 1132(c)(1)(B) provides:

                 Any administrator... who fails or refuses to comply with a request for any
                 information which such administrator is required by this subchapter to
                 furnish to a participant or beneficiary (unless such failure or refusal results
                 from matters reasonably beyond the control of the administrator) by
                 mailing the material requested to the last known address of the requesting
                 participant or beneficiary within 30 days after such request may in the
                 court's discretion be personally liable to such participant or beneficiary in
                 the amount of up to $100 a day from the date of such failure or refusal, and
                 the court may in its discretion order such other relief as it deems proper.
                 For purposes of this paragraph, each violation described in subparagraph
                 (A) with respect to any single participant, and each violation described in
                 subparagraph (B) with respect to any single participant or beneficiary, shall
                be treated as a separate violation.

         In 1997, the penalty amount was increased to $110.00 a day by the Department of
         Labor. 29 C.F.R. § 2575.502c-l (2010).

47.      29 U.S.C. § 1024(b)(4) provides:

                The administrator shall, upon written request of any participant or
                beneficiary, furnish a copy of the latest updated summary plan description,
                and the latest annual report, any terminal report, the bargaining agreement,
                trust agreement, contract, or other instruments under which the plan is
                established or operated. The administrator may make a reasonable charge
                to cover the cost of furnishing such complete copies. The Secretary may

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                 by regulation prescribe the maximum amount which will constitute a
                 reasonable charge under the preceding sentence.

48.    The Code of Federal Regulations requires a plan administrator to produce all insurance
       contracts under which the plan was established or is operated. C.F.R. § 2520.102-3(t)(2)
       states:



                 ERISA provides that all plan participants shall be entitled to:

                 :|c   4c   :|c




                 Obtain, upon written request to the plan administrator, copies of
                 documents governing the operation of the plan, including insurance
                 contracts....


49.    At all times relevant hereto defendants administered the CHC Plan and failed to provide
       Plaintiff Lessman with CHC Plan documents within 30 days of mailing her request, as
       required pursuant to 29 U.S.C. § 1132.

50.    As such defendants have violated the above-referenced statutes and CFRs. Pursuant to

      the statute. Defendants are to be penalized by paying the sum of $110 per day to Plaintiff
       from the date of each Defendant's failure or refusal to provide the information requested.
      From Plaintiffs first request on August 8, 2013, the penalty amounts to $46,640.

                                                    V.
                                      SECOND CAUSE OF ACTION
         FAILURE TO PROVIDE BENEFITS PROVIDED UNDER THE PLAN:
                                  VIOLATION OF 29 U.S.C. § 1132(a)(1)(B)

51.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fully
      set forth herein.


52.   Under the terms of the CHC Plan, Defendants agreed to provide Plaintiff Lessman with
      medical benefits.


53.   The decision to deny medical benefits was wrong under the terms of the CHC Plan.



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54.   The decision to deny medical benefits and decision-making process were arbitrary and
      capricious.

55.   The decision to deny medical benefits was not supported by substantial evidence in the
      record.


56.   The decision-making process did not comport with 29 U.S.C. § 1133's requirements that
      any notice of denial must contain the specific reasons for such denial, written in a manner
      calculated to be understood by the participant and must comport with the Department of
      Labor Regulations.

57.   The decision-making process did not provide a reasonable opportunity to the Plaintiff for
      a full and fair review of the decision denying the claim, as is required by 29 U.S.C. §
       1133 and 29 C.F.R. 2560.503-1.


58.   The appellate procedures did not provide the Plaintiff a full and fair review.

59.   The Defendants violated the fiduciary duties owed to the Plaintiff.

60.   As a direct and proximate result of the aforementioned conduct of the Defendants in
      failing to provide medical benefits for Plaintiff and in failing to provide a full and fair
      review of the decision to deny medical benefits. Plaintiff has been damaged in the
      amount equal to the amount of benefits to which Plaintiff would have been entitled to
      under the CHC Plan, and such other medical benefits as would have been paid or
      provided to the Plaintiff under the CHC Plan.

61.   Plaintiff Lessman has incurred attorney fees as a direct and proximate result of
      Defendants' actions, omissions and inactions. Further, Plaintiff has lost the value of
      medical benefits due under the CHC Plan. Plaintiff is entitled to payment of her medical
      benefits under the CHC Plan through the last day of her employment with Defendant
      CHC. In addition to her full CHC Plan benefits. Plaintiff is entitled to prejudgment
      interest from the date she was first entitled to coverage until the date ofjudgment.




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                                                 VI.
                                 THIRD CAUSE OF ACTION
              ENJOIN ACTS WHICH VIOLATE ERISA OR PLAN TERMS:
                     VIOLATION OF 29 U.S.C. § 1132(a)(3), § 502(a)(3)

62.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fiilly
       set forth herein.


63.    29 U.S.C. § 1132(a)(3), § 502(a)(3) allows a plan participant to:

               (A) to enjoin any act or practice which violates any provision of this
               subchapter or the terms of the plan, or (B) to obtain other appropriate
               equitable relief (i) to redress such violations or (ii) to enforce any
               provisions of this subchapter or the terms of the plan.

64.    SISCO is taking actions outside the CHC Plan by denying Plaintiff Lessman her benefits.

65.    The CHC Plan is obligated to provide benefits to Plaintiff Lessman through the last day
       of her employment, and is contacting Ms. Lessman's healthcare providers as a way to
       harass Ms. Lessman and avoid the requirements of the CHC Plan and ERISA.

66.    Plaintiff Lessman has incurred attorney fees as a direct and proximate result of
       Defendants' actions.


                                                VII.
                                     PRAYER FOR RELIEF


       WHEREFORE, Plaintiff prays that the Court grant judgment in her favor and order as
follows as to the First Cause of Action:


       a. Defendants provide to Plaintiff copies of all CHC Plan documents including the
           following:

              i.   A complete copy of the CHC Plan and all health/ERISA plan documents for
                   Plaintiff Lessman's coverage from 2011 through 2013.

             ii.   The name and contact information for the current Plan Administrator.




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            iii.   Copies of all contracts, including but not limited to, insurance, stop loss,
                   health insurance, insurance intermediary services, and administrative services
                   contracts related to the CHC Plan from 2011 through 2013.

            iv.    Identification of any clauses regarding reimbursement or subrogation, and
                   clauses that describe whether the plan is self-funded or insured.

             V.    Copies of the Administrative Services Contract between the CHC Plan and
                   the claims/third-party administrator for 2011 through 2013.

            vi.    Copies of the Summary of Medical Modifications (SMM) statements for
                   2011 through 2013.

       b. Impose a $110 per day penalty for the Plan Administrator's failure or refusal to
          provide the specified information as required, from the Plaintiffs initial request date
          of August 8, 2013.

       c. Award Plaintiff her attorney's fees, court costs, and other expenses incurred in
          connection with this action.


       d. For such other and further relief as the court deems just and proper.


       WHEREFORE, Plaintiff prays that the Court grant judgment in her favor and order as
follows as to the Second Cause of Action:


       a. Defendants jointly and severally pay to Plaintiff all benefits due under Defendant
          CMC's health benefits plan.

       b. Defendants continue to pay all providers for amounts due through the end of Plaintiff
          Lessman's employment with Defendant CHC.

       c. Defendants pay prejudgment interest on the unpaid benefits balance from the date
          Plaintiff was first denied coverage until the date ofjudgment.

       d. Award Plaintiff her attorney's fees, court costs, and other expenses incurred in
          connection with this action.


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       e. For such other and further relief as the court deems just and proper.

       WHEREFORE, Plaintiff prays that the Court grant Judgment in her favor and order as
follows as to the Third Cause of Action:


       a. Defendants stop and Defendants direct SISCO to stop attempting to collect refunds
          from Plaintiffs medical providers for payments made by SISCO under the CHC Plan
          through the end of her employment.

       b. Award Plaintiff her attorney's fees, court costs, and other expenses incurred in
          connection with this action.




       DATED this           day of                    20_J^.
                                                 Sabrina Lessman,




                                                            fchael Shickich, 6-3015
                                                        Law Offices ofR. Michael Shickich, LLC
                                                        111 West 2"^^ Street, Suite 500
                                                        Casper, WY 82601
                                                        PH: 307-266-5297; FX: 307-266-1261
                                                        mis@iniurvfimi.net
                                                        ATTORNEY FOR PLAINTIFF




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Sdhi^'inay Le^ma-n^
PO Scno 50805
Colder, VfV 52605
(307) 267-1911

                                         August 8, 2013



To: Sisco/Great West Hcallhcare-CIGNA                            VIA CERTIFIED MAIL
Plan Aclministralor for:                                         „        _   .       .
^                        .                                       Return Receipt #
Community Health Center                                                           ^
of Central Wyoming Medical Plan                                  7004 1160 0006 4045 3726
1000 Great West Drive
ICcnnctt. MO 63857-3749



       RE: Policy #991232153

Ladies and Gentlemen:


       My name is Sahrina Lcssmaii. Pursuant to my right as a participant and beneficiary of
the Community Health Center of Central Wyoming Plan. I respectfully request copies of the
following materials:


    1. Copiesof the Summary Plan Description (SPD) and other Plan Documents rela:ing to my
       health insurance coverage for the years 2011 through 2013.

   2. Copies of fonii 5500, including all attached schedule.s, tiled with the U.S. Department of
      Labor for the years 2011 through 2013.

   3. A complete copy of the healtli.'ERISA plan.

   4. A listing of the dates of service, service providers and payments made on my behalf, if
      any, from May 15. 2012 to the prc.sent. If no payments have been made, please conlinn
       this in writing.

      Please al.so cite clauses that describe whether the |)lan is self-insured or governed by
ERISA rules, as well as any clau.scs regarding reimbur.sement or subrogation.

       Please forward these materiais to my attorney, R. Michael Shickich. 111 W. 2"'' Street,
Suite 500. Casper, WY 82601. Thank you.

                                                            ^Sincerely.




                                                                                                 EXHIBIT 1
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                                      LAW OFFICES OF
                             R. IVIICHAEL SHICKICH, L.L.C.
                                   111 West 2"^' Street, Suite 5(10
                                         Casper, WY 82601

Telephone (307) 26(>-5297                 www.Ininrvl'inii.iiet                Facsimile (3071 266-1261




                                         November 22. 2013


                                                                                CERTIFIED MAIL
                                                                   RETURN RECEIPT NUMBER
                                                                         7004 1160 0006 4045 4938
Community Health Center of Central Wyoming, Inc.
Human Resource Department
ATTN: Plan Administrator
5000 Blackmore Road
Casper. WY 82609


        RE:      Community Health Center orCenlral Wyoming Health Care Plan #501
                 Your Insured: Sabrina Lcssman
                 Policy#:       991232153
                 DateofLo.ss: Mav 15,2012



Dear Sir or .Madam:


        Please be advised that 1have been retained to represent Ms. Sabrina Lcssman for injuries
she sustained in a motorcycle collision on May 15, 2012. At your earliest opportunity, please
forward the following documentation to me:


        1. A complete copy of the Plan and all health/ERISA Plan Documents for my client's
             health insurance coverage for the years 2011 through 2013.


        2. The Summary Plan Description lV»r the years 2011 through 2013.


        3.    fhc name and address of the current Plan Administrator.



        4. A detailed listing of the dates of service, .service providers and payment amounts for
             meilical benellls paid to service providers on my client's behalf, if any, from the dale
             of loss to pre.sent. If no payments have been made, plea.sc confirm this in writing.




                                                                                                 EXHIBIT 2
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        5. Copies of all contracts, including hut not limited to: insurance contracts. Stop Loss
           contracts, health insurance contracts, insurance intermediary service contracts, and
           administrative services contracts related to the medical plan serving Wyoming
           participants for the years 2011 through 2013.


       6. Please identify any clauses regarding reimbursement or subrogation, and clauses that
           dc.scribe whether the plan is self-funded or insured.


       7. The Administrative Services Contract between the Plan and the claims/third-party
           administrator for the years 2011 through 2013.


       8. Copies of the SMM (Summary of Medical Modillcations) statements for the years
           2011 througli 2013.


        Thank you for your assi.stance in this matter. Please contact me if you have any
questions about this request.


                                                       Vey>irMy              J

                                                             /
                                                   /   R. Michael Shickich


RMS/wkt
cc: Sabrina Lessinan




                                                                                              EXHIBIT 2
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  • Complete items 1. 2.and 3.Also oompleto                                       A, ftignature
     item 4 If Restricted Delivery is desired.
  « Print your name and address on tne roveise
    so thatwecan return thecardto you.
                                                                                  X •" )'-\H                                         • Agent
                                                                                                                                     D Addressee
  • Attach this card to the back of the mallpiece,                                Q. Recaived tjy(Piinted Nama)                 C. Date of
                                                                                                                                C. Date of C
                                                                                                                                           Deifvsiy
     or on the front if space permits.                                               -V ^ ^                                I /;)- H-1 s
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